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                                                                                                        COMPLAINT
                                                                                                         Federal Prisoner




                                                                                                                    T'




    L   PREVIOUS LA WSUITS

        A. Have you begun other lawsuits in state or federal ~ourt deali~e same facts involved in this action or otherwise
           related to your imprisonment?      Yes                No     '

        B. If your answer to A is Yes, describe the lawsuit in the space below. If there is more than one lawsuit, describe the
           additional lawsuits on another piece of paper using the same outline,

            1.   Parties to this previous lawsuit:

                 Plaintiff:

                 Defendant(s):

            2.   Court:
                                   (Iffederal court. name the districl;    if state court,   name the county)

            3.   Docket Number:          .n   f f',   .,' , "
            4.   Name(s) of Judge(s) to   Lm~ase was aSsigned: _)I1{-V_'1-,:;~=-_______________
            5.   Disposition:       .1     ",/q...                Z~              .
                                   (For exw6ple, was the case dismissed? Appealed? fending?)

           6.    Approximate date ofliling lawsuit: __     /i+~/---,7. .                                        ~
                                                                       ,'--r-'_ _ _ _ _ _----,,----_ _ _ _ _ _ _ _ _ __


            7.   Approximate date of disposition:
                                                            Z 0/pt                                  .


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       ll.' P,LACEOFPRE,SENTCO.Nf',INEM,ENT                                                (J,~£lt"'~-(-?nGcJ~l\i.,y('6'Tl7i)-'~t' ~~.,,,*e-0_1 ~ -)                                    AJV. ;',n 1\,../ )
                                         ,                                 ·C,)7--1 C                           -;t,)j)~td'                       ((re../\LeYr'\;L"'~C61(,t,1'!Jt{I)G(\'I)..ueu.).!!tJ
           A. Name ofPrison/JaiIlInstitutiori:                             '4Y'fl.,tO~l.              otll.          L'                  <,!,   '1...), ,       ()', "                 " Oe, ll-ti r

           B.     What are the issues that you are                    art~mpting to litigat:in the above-captioned case? ,0-                                                 l' "-e'   l   It Ii   d \..\ Ii.\        S   ~\ f
                      f 4'),~j ~ ~ >4= ~~i'\~( ~~t3,~v'-+;-e 11 rt"-4;'I ~2lV<~',~ ~
           C.(l) Is there a prisoner grievanceprodeaure in thisinstitution? Yes                                                            .~            "       No'
                                        "                                       " : 7
                  (2) Did you file agrievarice concerning the claims you are raising in this matter?                                                                Yes                      No '

                     when/~ If:5Rt}{/D ~ . ' "'GrievanCe Number (if available) Ij~ '(.7 "-rJ-'--yt<:J-"-J                                                                    v..J\


           D.     Have you re~e?ved a fina~/departmentaVinStitutional answer ordetermination concerning this matter (i,e., your
                  grievance)?        Yes                                        N().~~_
                                                                                ','

           E.     When was the final agency/departmental/institutional anSwer or determination received by you?
                            ,            .i                       '-:;,' .                                             •                          '1:'       -       ,


                 !fpossible, please at;hch a copy ofyour grievanceanda,copyo/thehigF:est level decision c~ncerning your grievance
                 Ihat you have received.

           F. ·If there is no prison grievan~e.proce~ures irltliis institution,
                 did you comp(ain to prison, Jail, ot 'lOstitutionalauthorities?
                                                                                                                                  ,
                                                                                                                                 Yes
                                                                                                                                            ,vi                  No,_ __

           G. If your answer is YES:

                  i.    What steps qidyou take?                 ,'r ",{;)eJ~u~L ,"'=1t(e-1>i' ~f gt"n ',vi '\ (~,["- ~t'/~v~ H(~'
                 2.    WhatwastheresuIt?                   r·,~~h~~;)f\.ve~:bY"t-U'tki'<:...\.... j4t~5sr- c[~i~,..h)n
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      . IiI. PARTIES

          In Item A below. place your nam~, inmate number, arid addres$ in the spac~pf()vided.· Do the same for additional
          plaintiffs,. if any:      .,"      .' c ' .  "                                                                                                                                                          •




           A. Name ofPlaintiff:         Attt-h)-r(C~V1~\"1J"0~                                                                                  , 'r,lnmate~o.: ~ :3~ ~{(!f}
                 Address;       L'~t(n ~                   C,o t di'                        D Urf"~V1' ~'tt~ 'l.~) ~J b.~
                 Tn Item B below, place thefull name ojjthedefeluiant, hisoJjicial position,' and place ofemployment in the ~pace
                 provided Use Item Cfor ddditional defendants, if any,

          B,     Name of Defendant:_;ii!!;D:.-.    ~.,-''-,-;-r'-_l...,Y,L, ~'--,,-~_-,----,"
                                                                        -,-.•         ••                             __      ~_-,--""",--,{:....._.'Position: ..:J)=-C_~_--'.:..,.~r
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      IV, STATEMENT OF CLAIM
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State here, as briefly as possible, the [acts ofyour case. Describe how each defendant is involved Include also the names
of other persons involved, dates, and places. Do not give any legal arguments or cite any cases or statutes. Jfyou intend
to allege a number ofrelated claims, number and set forth each claim in a separate paragraph. Use as much space as you
need Attach an extra sheet if necessary.
         Whl'J~         '·'I.e t'{rC0'-9-i.R..{       1'~ Co flJa             b1.   C&itA i j     ttlfi'el'   t ~c.




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V. RELIEF.




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                      "'-""T-rJ',   of perjury that the foregoing is true and correct.   -     -.   ­


            _S::,,-"..lJ,.;JC"'--~ _ _ ,day-oj
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